                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                        NO. 5:18-CT-3038-BO



 KAREEM JAMAL CURRENCE,      )
                             )
          Plaintiff,         )
                             )
     v.                      )                                          ORDER
                             )
 COUNSELOR GRAPENHAUSER, )
 COUNSELOR STRAUB, COUNSELOR )
 GRAHAM, and COUNSELOR )
 HARPER,                     )
                             )
           Defendants.       )



          Plaintiff Kareem Jamal Currence, a federal inmate, filed this civil rights action pro se

pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388

(1971).     The matter now is before the court for an initial review pursuant to 28 U.S.C.

§ 1915(e)(2)(B). Also before the court are plaintiff's motions to expedite (DE 7, 8).

          Section 1915 provides that courts shall review complaints in which prisoners seek relieffrom

a governmental entity or officer, and dismiss such complaints when they are ":frivolous." 28 U.S.C.

§ 1915(e)(2)(B). It does not clearly appear from the face ofthe complaint that plaintiff is not entitled

to relief, thus the matter is ALLOWED to proceed. As for plaintiff's motions to expedite, the court

plans to consider this case as expeditiously as possible, consistent with the court's docket. Thus,




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plaintiffs motions to expedite (DE 7, 8) are DENIED as MOOT. The clerk of court is DIRECTED

to issue summons. The court DIRECTS the United States Marshal Service to make service pursuant

to 28 U.S.C. § 1915(d).

       SO ORDERED, this the /..J'aay of May, 2018.




                                        ~w.~~
                                         RRENCE w. BOYLE =-f ""
                                           United States District Judge




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